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                         APPEAL NO. 23-5062


                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES OF AMERICA,                                        APPELLEE

                                  v.

PETER K. NAVARRO,                                            APPELLANT.


                APPEAL FROM THE UNITED STATES
         DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


APPELLANT’S PETITION FOR REHEARING EN BANC, OR PETITION FOR
                      PANEL REHEARING


                               Stan M. Brand
                               (D.C. Bar No. 213082)
                               Stanley E. Woodward, Jr.
                               (D.C. Bar No. 997320)
                               BRAND WOODWARD LAW, LP
                               400 5th Street NW, Suite 350
                               Washington, DC 20001
                               202-996-7447 (telephone)
                               202-996-0113 (facsimile)
                               Stanley@BrandWoodwardLaw.com



                                Counsel for Appellant Peter K. Navarro

1:22-cv-02292-CKK




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                              Rule 35(b)(1) Statement

      Does the Presidential Records Act, 44 U.S.C. §§ 2201-2209 (“PRA”),

authorize a search by the government of the personal email of all former senior

presidential advisors despite the protections from unreasonable search and seizure

afforded by the Fourth Amendment? Because this proceeding involves a question

of exceptional importance, panel rehearing, or rehearing en banc, is required.

Specifically, the panel concluded that the PRA authorizes the United States to seek

the return of Presidential Records from former senior presidential advisors through

State replevin actions. Importantly, since the conclusion of briefing before the

panel, the district court has effectively authorized a search of the entirety of Dr.

Navarro’s email (limited only by the time period within which he served as a

senior presidential advisor). In so doing, Dr. Navarro’s protection from

unreasonable searches and seizures under the Fourth Amendment, see City of

Ontario v. Quon, 560 U.S. 746 (2010), has been completely eviscerated.

      It cannot be that Congress implicitly bestowed upon the Judiciary the

authority to summarily invade the Fourth Amendment in this manner. See, e.g.,

Gamble v. United States, 139 S. Ct. 1960, (2019) (Thomas, J., concurring) (“And

the Court has long recognized the supremacy of the Constitution with respect to

executive action and ‘legislative act[s] repugnant to’ it.” (internal cites omitted)

(citing Marbury v. Madison, 5 U.S. (1 Cranch) 137 (1803); Youngstown Sheet &



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Tube Co. v. Sawyer, 343 U. S. 579, 587-589 (1952); The Federalist No. 78, at 467

(C. Rossiter ed. 1961) (“No legislative act, therefore, contrary to the Constitution,

can be valid.”)). Even were it the intent of Congress to implicitly bestow such

power on the Judiciary, to so hold implicates the major questions doctrine, see

West Virginia v. EPA, 142 S. Ct. 2587 (2022), a separate but related question of

exceptional importance warranting rehearing.

                          STATEMENT OF THE CASE

      Dr. Peter K. Navarro was a member of Donald J. Trump‘s Presidential

Administration from January 20, 2017 through January 20, 2021 in multiple

executive branch cabinet or advisor roles, making him a “covered employee” under

at least a portion of the Presidential Records Act of 1978. See 44 U.S.C. §

2209(c)(1)(A)-(D) (defining “covered employee. . . [i]n this section” as "immediate

staff of the President[,] the immediate staff of the Vice President[,] a unit or

individual of the Executive Office of the President whose function is to advise and

assist the President[,] and a unit or individual of the Office of the Office of the

Vice President whose function is to advise and assist the Vice President.”). During

his tenure in the White House, he had a personal electronic mail account on which

he admittedly conducted limited official activities.

      The United States filed a civil complaint seeking the compelled production

of any Presidential Records in Dr. Navarro’s possession. On March 9, 2023, the



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District Court granted summary judgment in favor of the United States, and

ordered Dr. Navarro to review his email and produce any Presidential Records

identified therein. Order and Judgment (Mar. 9, 2023). On March 23, 2023, Dr.

Navarro appealed the merits of the ruling but once a stay was denied Dr. Navarro

proceeded both before the district court and this court simultaneously. Here, Dr.

Navarro filed his principal brief on November 6, 2023; the United States filed its

response on January 5, 2024; Dr. Navarro filed his reply brief on January 6, 2024.

On February 1, 2024, this Court notified the parties that it would be ruling on the

merits without oral argument. On April 1, 2024, the panel in this matter denied Dr.

Navarro’s appeal. Before it did so, however, the district court took action that

significantly changed the posture of this case.

       On February 20, 2024, after briefing had been completed for the panel, the

district court issued an order and memorandum opinion regarding whether Dr.

Navarro had complied with its directive to return all Presidential Records to the

United States. In so doing, the district court broadly defined Presidential Records.

See Memorandum Opinion and Order (Feb. 20, 2024) (ECF. No. 038). As a result

of this ruling and the analysis contained therein, Dr. Navarro has now produced to

the United States more than half of all personal emails sent or received during his

service as a senior presidential advisor. Despite this significant production, the

district court also ordered an in camera inspection of the remainder of Dr.



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Navarro’s personal emails. See Order (Apr. 9, 2024) (ECF No. 042).1 See also

Order Referring Case to Magistrate Judge G. Michael Harvey (Apr. 9, 2024) (ECF

No. 043). The Magistrate Judge, in turn, has issued a separate order requiring that

Dr. Navarro catalogue his personal emails and, for each, explain why they are

personal (and not Presidential). See Order, at 2 (May 1, 2024) (ECF No. 045)

(“The documents shall further be organized into the following categories . . . .).

         These orders amount to a judicial intrusion in violation of the Fourth

Amendment that the parties had not previously briefed for the panel. Based on the

plain language of the district court’s Order as well as the Magistrate Judge’s

supplemental Order, Dr. Navarro now must produce the entirety of his personal

email account (limited to the period within which he served as a senior presidential

advisor) to a Magistrate Judge for review.

         I.       Relevant Law

         The Presidential Records Act of 1978, 44 U.S.C. §§ 2201-2209 (“PRA”),

governs the preservation and maintenance of official records of Presidents, Vice

Presidents, and their respective staffs. The statute requires the President to ensure

the preservation of records documenting the performance of that President’s


1
 The district court’s Order requires Dr. Navarro to, “lodge with the Chambers of Magistrate Judge Harvey all
documents that prior searches have identified as potential Presidential records as described in the status reports, and
any other searches run by Defendant to identify potentially responsive records.” Order Referring Case to Magistrate
Judge G. Michael Harvey at 1 (Apr. 9, 2024) (ECF No. 043) (citations omitted). Insofar as Dr. Navarro’s “search”
for Presidential Records included a review of every single email sent or received during the period when Dr.
Navarro served as a senior presidential advisor, the district court’s order now requires the magistrate judge to review
every record not identified as a Presidential Record by Dr. Navarro’s counsel.


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official duties to ensure that once the President’s tenure in the White House is

concluded, custody and control of all presidential records can be transferred to the

National Archives and Records Administration (“NARA”). 44 U.S.C. § 2203(a).

The PRA then requires NARA to prepare public access, “as rapidly and completely

as possible consistent with the provisions of this chapter.” 44 U.S.C. § 2203(g)(1).

      The PRA is unequivocal in that it gives the United States, “complete

ownership, possession, and control of Presidential records; and such records shall

be administered in accordance with the provisions of,” the Act 44 U.S.C. § 2202.

Electronic mail can be documentary materials as defined by the Presidential

Records Act. See 44 U.S.C. § 2201(1) (defining “documentary materials” pursuant

to the Presidential Records Act to include “electronic or mechanical recordation,

whether in analog, digital, or any other form.”). However, solely because

electronic mail was created during an employee’s tenure in the White House does

not mean that all electronic mail created during an employee’s tenure is a

presidential record. See 44 U.S.C. § 2202(2)(A), (B) (defining “presidential

records” as a specific category of documentary materials, and exempting certain

documentary materials from the definition of “presidential records”).

      The PRA was amended in 2014 to address the specific issue of creating or

sending a “Presidential or Vice Presidential record using a non-official electronic

message account[.]” 44 U.S.C. § 2209. This section outlines that such material



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that is created or sent on a personal electronic mail account must either: “(1) cop[y]

an official electronic messaging account of the President, Vice President, or

covered employee in the original creation or transmission of the Presidential record

or Vice Presidential record; or (2) forward[] a complete copy of the Presidential or

Vice Presidential record to an official electronic messaging account of the

President, Vice President, or covered employee not later than 20 days after the

original creation or transmission of the Presidential or Vice Presidential record.”

44 U.S.C. § 2209(a)(1), (2). Of note, this subsection states it only applies to

material that is “create[d]” or “sen[t],” and not material that is “received.”

Compare 44 U.S.C. § 2209, with 44 U.S.C. § 2201(2) (defining “presidential

records” as “documentary materials. . . created or received[.]”) (emphasis added).

      The PRA does not provide a separate cause of action through which the

United States may seek the return of Presidential Records. In fact, the only

remedial measure within the Act is a section which authorizes adverse actions

when covered employees intentionally fail to abide by 44 U.S.C. § 2209(a). See 44

U.S.C. § 2209(b).

      II.    Reasons for Rehearing

      In its opinion, the panel concluded the PRA did not implicitly preclude the

United States from seeking the return of Presidential Records through State

replevin actions. See Judgment, at 4 (Apr. 1, 2024) (Document # 2047665) (“That



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Congress provided the United States authority to discipline current employees for

violating the PRA does not remotely suggest that Congress intended to foreclose

the government from using other longstanding methods of protecting its

property.”). This conclusion, however, was based on the presumption that the

United States knew which records it sought the return of. Indeed, when this appeal

was initially briefed for the panel, the records Dr. Navarro was ordered to return

were specifically delineated (and had already been identified by Dr. Navarro

himself). See United States v. McElvenny, 2003 U.S. Dist. LEXIS 4792 (S.D.N.Y.

2003) (United States seeking from private citizen the return of a specific map and

other tangible and specifically identified materials from the Kennedy

Administration). Since briefing was complete, however, the district court has

ordered the review of the entirety of Dr. Navarro’s personal email account (limited

only to the time period within which he served as a senior presidential advisor).

This intrusive search of Dr. Navarro’s personal email amounts to a violation of his

protection from unreasonable searches and seizures under the Fourth Amendment

to the Constitution. See City of Ontario v. Quon, 560 U.S. 746, 755-56 (2010) (“It

is well settled that the Fourth Amendment's protection extends beyond the sphere

of criminal investigations. . . ‘The Amendment guarantees the privacy, dignity, and

security of persons against certain arbitrary and invasive acts by officers of the

Government,’ without regard to whether the government actor is investigating



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crime or performing another function. . . The Fourth Amendment applies as well

when the Government acts in its capacity as an employer. . .”) (internal citations

omitted) (citing Camara v. Municipal Court of City and County of San Francisco,

387 U.S. 523, 530 (1967)) (also citing Skinner v. Railway Labor Executives' Assn.,

489 U.S. 602, 613–614 (1989)) (also citing Treasury Employees v. Von Raab, 489

U.S. 656, 665 (1989)).

      Even were it the intent of the panel to conclude that the PRA implicitly

bestowed upon the Judiciary the authority to search the email of any former senior

presidential advisor, so doing unquestionably implicates the major questions

doctrine such that it should be assumed that Congress must speak clearly when

delegating authority to executive agencies, such as where it empowers NARA,

through the Department of Justice, to permit an invasion of privacy. Moreover,

where a statute is applied to in a novel and broad manner which grants agencies

broad authority over matters of “economic and political significance,” the Courts

should “hesitate before concluding that Congress meant to confer such authority.”

See e.g. West Virginia v. EPA, 142 S. Ct. 2587, 2607-08 (2022). Here, the PRA

has been interpreted to provide an executive agency a cause of action to summarily

compel production of records and review of private electronic mail accounts

through an unrelated state law statute. Upholding the District Court’s ruling will

subject all future covered executive branch employees to the same scrutiny and



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review of the entirety of their personal electronic mail accounts if the government

simply suspects that the employee may have used personal electronic mail

accounts during their tenure as covered employees as defined by the Statute,

making this matter a question of significant political importance.

                                  CONCLUSION

      Based on the foregoing, Appellant-Defendant Dr. Peter K. Navarro

respectfully requests rehearing either by the panel or en banc.




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Fed. R. App. P. 32(g) and Fed. R. App. P.

32(a)(7)(B), that the foregoing petition complies with the relevant page and type-

volume limitations. The petition contains 1,980 words, and thus not more than

3,900 words, excluding those exempted by Fed. R. App. P. 32(f) and D.C. Cir.

Rule 32(e)(1). I further certify that this brief complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the typeface style requirements of

Fed. R. App. P. 32(a)(6) because the brief was prepared in 14-point Times New

Roman font using Microsoft Word.

                                                               /s/
                                               Stanley E. Woodward, Jr.


                          CERTIFICATE OF SERVICE

      I hereby certify, pursuant to Fed. R. App. P. 25(c), that on May 13, 2024 the

foregoing was electronically filed with the Clerk of the Court using the CM/ECF

system, which will send a notification to the attorneys of record in this matter who

are registered with the Court’s CM/ECF system. I further certify that the required

hard copies were sent to the Court and all attorneys of record via FedEx on or

about May 13, 2024.

                                                               /s/
                                               Stanley E. Woodward, Jr.




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                  UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                        )
UNITED STATES OF AMERICA,               )
Plaintiff-Appellee                      )              No. 23-5062
                                        )
                  v.                    )
                                        )
PETER K. NAVARRO,                       )
Defendant-Appellant.                    )
                                        )

                         CERTIFICATE OF PARTIES

      Plaintiff-Appellee is the United States of America, by the U.S. Department

of Justice. Defendant-Appellant is Dr. Peter K. Navarro. In the District Court,

there were no additional parties and no amici.



Dated: May 13, 2024                   Respectfully Submitted,

                                            /s/ Stanley E. Woodward, Jr.
                                      (D.C. Bar No. 997320)
                                      BRAND WOODWARD LAW, LP
                                      400 5th Street NW, Suite 350
                                      Washington, DC 20001
                                      202-996-7447 (telephone)
                                      202-996-0113 (facsimile)
                                      Stanley@BrandWoodwardLaw.com

                                      Counsel for Appellant Peter K. Navarro




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